             Case 1:22-cv-04737-LGS Document 8 Filed 08/04/22 Page 1 of 1


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
 LAMAR BROWN,                                                 :
                                              Plaintiff,      :
                                                              :   22 Civ. 4737 (LGS)
                            -against-                         :
                                                              :        ORDER
 SOLA SALON STUDIOS LLC,                                      :
                                              Defendant. :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, the Order dated June 24, 2022, required the parties to file a proposed case

management plan and joint letter seven (7) days before the initial pretrial conference;

        WHEREAS, the initial pretrial conference is currently scheduled for August 10, 2022, at

4:00 p.m.;

        WHEREAS, Defendant Sola Salon Studios LLC has not appeared, and Plaintiff has not

filed proof of service on the docket;

        WHEREAS, the parties failed to timely submit the joint letter or proposed case

management plan; it is hereby

        ORDERED that if Plaintiff has been in communication with Defendant, then the parties

shall file the joint status letter and proposed case management plan as soon as possible and no

later than August 5, 2022. If Plaintiff has not been in communication with Defendant, he shall

file a status letter regarding his efforts to serve Defendant and request an adjournment of the

initial conference as soon as possible and no later than August 5, 2022.

Dated: August 4, 2022
       New York, New York
